




Dismissed and Memorandum Opinion filed January 24, 2008








Dismissed
and Memorandum Opinion filed January 24, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-01007-CV

____________

&nbsp;

BRET MCADEN and CHRISTINA MCADEN, Appellants

&nbsp;

V.

&nbsp;

MBNA AMERICA BANK,
Appellee

&nbsp;



&nbsp;

On Appeal from the 157th District
Court

Harris County, Texas

Trial Court Cause No.
2006-51803

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed August 20, 2007.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On
December 27, 2007, notification was transmitted to all parties of the Court's
intent to dismiss the appeal for want of prosecution unless, within fifteen
days, appellant paid or made arrangements to pay for the record and provided
this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed January
24, 2008.

Panel consists of Justices Yates, Guzman, and Brown. 

&nbsp;





